                                            Entered on Docket
                                            May 24, 2021
                                            EDWARD J. EMMONS, CLERK
                                            U.S. BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


 1 SIMON ARON (State Bar No. 108183)
     saron@wrslawyers.com
                                     The following constitutes the order of the Court.
 2 JOHNNY WHITE (State Bar No. 269306)
     jwhite@wrslawyers.com           Signed: May 24, 2021
 3 WOLF, RIFKIN, SHAPIRO, SCHULMAN
   & RABKIN, LLP
 4 11400 West Olympic Boulevard, 9th Floor
   Los Angeles, California 90064-1582
                                         ________________________________________
 5 Telephone: (310) 478-4100             Charles Novack
   Facsimile: (310) 479-1422             U.S. Bankruptcy Judge
 6
   Attorneys for Debtors
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 8
                            UNITED STATES BANKRUPTCY COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                            OAKLAND/SAN FRANCISCO DIVISIONS
11
     In re                                           Case No. 21-40686
12                                                   Case No. 21-40687
     BSK HOSPITALITY GROUP, LLC,                     Case No. 21-30375
13                                                   Case No. 21-40688
                  Debtor.                            Case No. 21-40689
14
     In re                                           Chapter 11
15
     BSK BROADWAY, LLC,                              ORDER AUTHORIZING JOINT
16                                                   ADMINISTRATION OF CHAPTER 11
                  Debtor.                            CASES
17
     In re
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     BSK FERRY BUILDING, LLC,
19
                  Debtor.
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     In re
21
     B-SIDE BBQ, LLC,
22
                  Debtor.
23
     In re
24
     THE BROWN SUGAR KITCHEN, LLC,
25
                  Debtor.
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 1         The Motion of debtors-in-possession BSK Hospitality Group, LLC; BSK
 2 Broadway, LLC; BSK Ferry Building, LLC; B-Side BBQ, LLC; and The Brown Sugar
 3 Kitchen, LLC, (collectively, the “Debtors”) for an Order providing for the joint
 4 administration of their Chapter 11 cases came on for consideration on an ex parte basis.
 5 The Court having determined that joint administration of the these cases is likely to prove
 6 less expensive to the parties and beneficial to the estates and it appearing that joint
 7 administration will not have a substantive effect or an adverse impact on creditors, and it
 8 appearing that prompt notice of the granting of the Motion is adequate and sufficient under
 9 the circumstances, and good cause therefore appearing:
10         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
11         1.     The Motion be and it is hereby granted;
12         2.     The Chapter 11 cases of BSK Hospitality Group, LLC; BSK Broadway,
13 LLC; BSK Ferry Building, LLC; B-Side BBQ, LLC; and The Brown Sugar Kitchen, LLC,
14 shall be jointly administered in the manner contemplated by Rule 1015(b) of the Federal
15 Rules of Bankruptcy Procedure;
16         3.     Joint administration of these cases shall include the following:
17                a.     Use of a single docket (In re BSK Hospitality, LLC, Case No. 21-
18 40686-CN) for administrative matters, particularly the filing, lodging and docketing of
19 pleadings and orders;
20                b.     Combined notices to creditors and parties in interest, utilizing the
21 master mailing matrix in the lead case;
22                c.     The use of a combined caption in the form set forth below:
23 In re                                            Case No. 21-40686
                                                    (Lead Case)
24 BSK HOSPITALITY GROUP, LLC,
   BSK BROADWAY, LLC
25 BSK FERRY BUILDING, LLC,                         Chapter 11
   B-SIDE BBQ, LLC,
26 THE BROWN SUGAR KITCHEN, LLC,                    (Administratively Consolidated)
27
                  Debtors.
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  1           Affects ALL DEBTORS
  2           Affects BSK HOSPITALITY
              Affects BSK BROADWAY
  3           Affects BSK FERRY
  4           Affects BSK B-SIDE BBQ
              Affects THE BROWN SUGAR
  5                  KITCHEN
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                    d.     The authorization of any professional employed herein to provide
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      services to and seek compensation from any or all of the estates on such basis as the Court
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      may hereafter determine appropriate.
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             4.     Joint administration shall not alter the obligation of each Debtor to prepare
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      and submit separately Monthly Operating Reports.
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             5.     Notwithstanding joint administration, Proofs of Claim shall be filed
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      separately against any Debtor the creditor asserts to be liable and the claims register in
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      these cases shall be maintained separately for each Debtor by the Clerk of the Court.
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             6.     The Debtors shall forthwith give notice to all creditors and parties in interest
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      of the entry of this Order in the form attached as an Exhibit to the Motion.
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             7.     Notwithstanding anything to the contrary, the Debtors’ cases shall not be
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      substantively consolidated absent entry of a separate Order or confirmation of a Plan of
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      Reorganization to that effect.
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                           *      *       *      END OF ORDER         *       *      *
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 1                                COURT’S SERVICE LIST
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 3 All parties are ECF qualified except:
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